                                       
                                       
                               COURT OF APPEALS
                            TENTH DISTRICT OF TEXAS
                                       
                               October 22, 2015
                              No. 10-14-00269-CR
                              JAMES GLYNN KEETON
                                      v.
                              THE STATE OF TEXAS
                                       
                                       
                      From the County Court at Law No. 2
                            McLennan County, Texas
                         Trial Court No. 2013-2046-CR2
                                       
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JUDGMENT

	This Court has reviewed the briefs of the parties and the record in this proceeding as relevant to the issue raised and finds no reversible error is presented.  Accordingly the trial court's judgment signed on July 29, 2014 is affirmed.
A copy of this judgment will be certified by the Clerk of this Court and delivered to the trial court clerk for enforcement.
							PER CURIAM
						SHARRI ROESSLER, CLERK			

						By: ___________________________
				Nita Whitener, Deputy Clerk

